Case 2:15-cr-20382-VAR-MKM ECF No. 229, PageID.3545 Filed 06/25/21 Page 1 of 4




                              United States District Court
                              Eastern District of Michigan
                                   Southern Division

United States of America,

                      Plaintiff,               Case No. 15-CR-20382

        v.                                     Honorable Victoria A. Roberts
                                               Magistrate Judge Elizabeth Stafford
D-1 Paul Nicoletti,

                      Defendant.
                                   /

   Government’s Response and Brief in Opposition to Defendant’s
       Motion to Correct Amended Judgment (ECF No. 227)

      The United States of America, by its undersigned counsel, respectfully

requests that the Court deny Defendant Nicoletti’s Motion to Correct Amended

Judgment (ECF No. 227) because there is no authority permitting the Court to

reopen the issue of restitution as Nicoletti requests.

      Nicoletti, who stipulated to the restitution amount at sentencing, now seeks

to attack the restitution order under the guise of “correcting” a clerical error. (ECF

179, PageID. 2884-2885: Sentencing Transcript; ECF No. 227, PageID. 3492:

Defendant’s Motion to Correct Amended Judgment Based on Clerical Error). But

Nicoletti’s motion has nothing to do with clerical errors. Rather, his bases are

substantive challenges to the methods and manner of arriving at the final restitution

figure, specifically arguing that this Court did not apply the correct sentencing
Case 2:15-cr-20382-VAR-MKM ECF No. 229, PageID.3546 Filed 06/25/21 Page 2 of 4




statute (ECF No. 227, PageID. 3494), included restitution for uncharged conduct

(ECF No. 227, PageID. 3497), based the restitution figure on inaccurate loan

amounts (ECF No. 227, PageID. 3499), failed to account for a civil settlement of a

co-defendant (ECF No. 227, PageID. 3500), and failed to credit him with insurance

settlements (ECF No. 227, PageID. 3500-3502). Thus, Rule 36 does not apply.

       Fed. R. Crim. P. 36 provides in pertinent part that: “. . . the court may at any

time correct a clerical error in a judgment, order, or other part of the record, or

correct an error in the record arising from oversight or omission.” The rule’s scope

is strictly limited:

              Although the federal rules do not define what constitutes
              a clerical error, this court has held that “a clerical error
              must not be one of judgment or even of misidentification,
              but merely of recitation, of the sort that a clerk or
              amanuensis might commit, mechanical in nature.” United
              States v. Coleman, 229 F.3d 1154, 2000 WL 1182460, at
              *2 (6th Cir. Aug.15, 2000) (unpublished) (quoting United
              States v. Burd, 86 F.3d 285, 288 (2d Cir.1996)). Rule 36
              has been consistently interpreted as dealing only with
              clerical errors, not with mistakes or omissions by the
              court. See 3 Charles Alan Wright, Nancy J. King &
              Susan R. Klein, Federal Practice & Procedure § 611 (3d
              ed. 2004) (“It is only a clerical error that may be
              corrected at any time under [Rule 36]. An error arising
              from oversight or omission by the court, rather than
              through a clerical mistake, is not within the purview of
              the rule.”).

United States v. Robinson, 368 F.3d 653, 656 (6th Cir. 2004); see also: United

States v. Jones, 608 F.2d 386 (9th Cir. 1979)(Rule 36 “intended to allow correction
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Case 2:15-cr-20382-VAR-MKM ECF No. 229, PageID.3547 Filed 06/25/21 Page 3 of 4




of clerical errors, not to allow reassessment of the merits of an earlier decision after

the time for reconsideration or appeal has elapsed); United States v. Blackwell, 81

F.3d 945 (10th Cir. 1996)(Rule 36 does not authorize substantive sentencing

modification); United States v. Llanos, 59 Fed.Appx. 412, 2003 WL 1026003 (2d

Cir. 2003), cert. denied 540 U.S. 857 (Rule 36 not appropriate vehicle for

defendant seeking to modify presentence report).

      Now, nearly 18 months after sentence was imposed at a hearing in which he

stipulated to the restitution amount, and after his direct appeal has been decided,

Nicoletti seeks to relitigate restitution under Rule 36. As noted above, he does not

base his motion on even one clerical error; rather, he challenges the restitution

order substantively on various grounds. Neither Rule 36, nor any other authority

known to the government, permits such a challenge. His motion should,

accordingly, be denied.

                                        Respectfully submitted,

                                        Saima S. Mohsin
                                        Acting United States Attorney

                                        s/Craig A. Weier
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                                           3
Case 2:15-cr-20382-VAR-MKM ECF No. 229, PageID.3548 Filed 06/25/21 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I certify that on June 25, 2021, I sent the foregoing document with

attachments to the defendant by email to: pauljnicoletti@gmail.com, and will follow

this notification by sending the same, by United States Mail, to: 7474 Port Austin

Road, Caseville, MI 48725

                                             s/Craig A. Weier
                                             Craig A. Weier (P33261)
                                             Assistant United States Attorney




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